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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

 LAURIE WOERPEL,

         Plaintiff,                                 Case No.: 1:17-cv-00728-JTN-ESC
                                                    Hon. Judge Janet T. Neff
 v.                                                 Magistrate Judge Ellen S. Carmody

 CREDIT SERVICES, INC.,

         Defendant.

 STIPULATION TO DISMISS WITH PREJUDICE AND WITHOUT FEES OR COSTS

        Plaintiff Laurie Woerpel and Defendant Credit Services, Inc., through their undersigned

attorneys of record, being all of the parties who have appeared in this action, stipulate to the

immediate dismissal of this lawsuit as to all parties and with prejudice and without attorney’s

fees or costs to either party.

        Dated: May 10, 2018


 /s/B. Thomas Golden                                /s/ Charity A. Olson
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